Case 3:21-md-02981-JD   Document 27-1   Filed 05/04/21   Page 1 of 8




               Exhibit A.
      Case 3:21-md-02981-JD          Document 27-1      Filed 05/04/21     Page 2 of 8




 1    Karma M. Giulianelli (SBN 184175)               Paul J. Riehle (SBN 115199)
      karma.giulianelli@bartlitbeck.com               paul.riehle@faegredrinker.com
 2    BARTLIT BECK LLP                                FAEGRE DRINKER BIDDLE &
      1801 Wewetta St., Suite 1200                    REATH LLP
 3    Denver, Colorado 80202                          Four Embarcadero Center, 27th Floor
      Telephone: (303) 592-3100                       San Francisco, CA 94111
 4                                                    Telephone: (415) 591-7500
 5    Hae Sung Nam (pro hac vice)
      hnam@kaplanfox.com                              Christine A. Varney (pro hac vice)
 6    KAPLAN FOX & KILSHEIMER LLP                     cvarney@cravath.com
      850 Third Avenue                                CRAVATH, SWAINE & MOORE LLP
 7    New York, NY 10022                              825 Eighth Avenue
      Tel.: (212) 687-1980                            New York, New York 10019
 8                                                    Telephone: (212) 474-1000
      Co-Lead Counsel for the Proposed Class in In
 9    re Google Play Consumer Antitrust Litigation    Counsel for Plaintiff Epic Games, Inc. in
                                                      Epic Games, Inc. v. Google LLC et al.
10    Steve W. Berman (pro hac vice)
      steve@hbsslaw.com                               Brian C. Rocca (221576)
11    HAGENS BERMAN SOBOL SHAPIRO                     brian.rocca@morganlewis.com
      LLP                                             MORGAN, LEWIS & BOCKIUS LLP
12
      1301 Second Ave., Suite 2000                    One Market, Spear Street Tower
13    Seattle, WA 98101                               San Francisco, CA 94105-1596
      Telephone: (206) 623-7292                       Telephone: (415) 442-1000
14
      Co-Lead Counsel for the Proposed Class in In    Counsel for Defendants Google LLC et al.
15    re Google Play Developer Antitrust Litigation
      and Attorneys for Pure Sweat Basketball, Inc.
16
      Bonny E. Sweeney (SBN 176174)
17    bsweeney@hausfeld.com
      HAUSFELD LLP
18    600 Montgomery Street, Suite 3200
19    San Francisco, CA 94104
      Telephone: (415) 633-1908
20
      Co-Lead Counsel for the Proposed Class in In
21    re Google Play Developer Antitrust Litigation
      and Attorneys for Peekya App Services, Inc.
22
      [Additional counsel appear on signature page]
23

24

25

26

27

28
     PLAINTIFFS’ SUPPLEMENTAL REQUEST                                            Case No.: 3:21-md-02981-JD
     FOR PRODUCTION OF DOCUMENTS TO GOOGLE
      Case 3:21-md-02981-JD          Document 27-1     Filed 05/04/21   Page 3 of 8




 1                                UNITED STATES DISTRICT COURT

 2                             NORTHERN DISTRICT OF CALIFORNIA
 3
                                      SAN FRANCISCO DIVISION
 4

 5    IN RE GOOGLE PLAY STORE                        Case No. 3:21-md-02981-JD
      ANTITRUST LITIGATION
 6                                                   PLAINTIFFS’ SUPPLEMENTAL
      THIS DOCUMENT RELATES TO:                      REQUEST FOR PRODUCTION OF
 7                                                   DOCUMENTS TO DEFENDANTS
      Epic Games Inc. v. Google LLC et al., Case     GOOGLE LLC, GOOGLE IRELAND
 8    No. 3:20-cv-05671-JD                           LIMITED, GOOGLE COMMERCE
                                                     LIMITED, GOOGLE ASIA PACIFIC
 9    In re Google Play Consumer Antitrust           PTE. LTD., and GOOGLE PAYMENT
      Litigation, Case No. 3:20-cv-05761-JD          CORP.
10
      In re Google Play Developer Antitrust          Judge: Hon. James Donato
11    Litigation, Case No. 3:20-cv-05792-JD
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     PLAINTIFFS’ SUPPLEMENTAL REQUEST                                           Case No.: 3:21-md-02981-JD
     FOR PRODUCTION OF DOCUMENTS TO GOOGLE
      Case 3:21-md-02981-JD           Document 27-1         Filed 05/04/21   Page 4 of 8




 1            PROPOUNDING PARTY:           EPIC GAMES, INC., ON BEHALF OF PLAINTIFFS

 2            RESPONDING PARTY:            GOOGLE LLC; GOOGLE IRELAND LIMITED;
                                           GOOGLE COMMERCE LIMITED; GOOGLE ASIA
 3                                         PACIFIC PTE. LTD.; and GOOGLE PAYMENT CORP.
 4
              SET NUMBER:                  TWO
 5
              Pursuant to Rule 34 of the Federal Rules of Civil Procedure, YOU are required to respond
 6
     within thirty (30) days of service hereof to the following request for production of DOCUMENTS, in
 7
     writing and under oath, and to produce the following DOCUMENTS in YOUR possession, custody
 8
     or control at the offices of Cravath, Swaine & Moore LLP, Worldwide Plaza, 825 Eighth Avenue,
 9
     New York, NY 10019, or at such other time and locations as may be mutually agreed upon by the
10
     parties. In answering this request for production of DOCUMENTS (the “REQUEST”), YOU should
11
     identify all DOCUMENTS within the possession, custody OR control of YOU AND/OR YOUR
12
     representatives, accountants, attorneys, employees, officers OR other persons acting OR purporting
13
     to act on YOUR behalf.
14
              In responding to the REQUEST, YOU are required to produce all requested DOCUMENTS
15
     that are in YOUR actual OR constructive possession, custody or control, OR in the actual OR
16
     constructive possession, custody OR control of YOUR representatives, accountants, attorneys,
17
     agents, employees, officers OR other person acting OR purporting to act on YOUR behalf.
18
              PLAINTIFFS request that such production be made in accordance with the “DEFINITIONS”
19
     and “INSTRUCTIONS” set forth in PLAINTIFFS’ First Set of Requests for Production of
20
     Documents to Defendants Google LLC, Google Ireland Limited, Google Commerce Limited, Google
21
     Asia Pacific Pte. Ltd. and Google Payment Corp., which are incorporated herein, and supplemented
22
     below.
23
                                             I.     DEFINITION
24
              “DISCOVERY MATERIALS” shall mean DOCUMENTS produced by YOU or received by
25
     YOU as part of discovery, INCLUDING all: (i) DOCUMENTS produced by YOU or received by
26
     YOU in response to any notice, request for production or subpoena duces tecum served pursuant to
27
     N.Y. C.P.L.R. § R3120, or any similar discovery mechanism; (ii) responses to interrogatories served
28
                                                      -1-
     PLAINTIFFS’ SUPPLEMENTAL REQUEST                                              Case No.: 3:21-md-02981-JD
     FOR PRODUCTION OF DOCUMENTS TO GOOGLE
      Case 3:21-md-02981-JD          Document 27-1         Filed 05/04/21   Page 5 of 8




 1   by or on YOU pursuant to N.Y. C.P.L.R. § 3132, or any similar discovery mechanism; (iii) responses

 2   to requests for admission served by or on YOU pursuant to N.Y. C.P.L.R. § 3123, or any similar

 3   discovery mechanism; and (iv) transcripts and videos of any deposition taken pursuant to a notice

 4   served pursuant to N.Y. C.P.L.R. § 3107, or any similar discovery mechanism.

 5                                   II.     DOCUMENT REQUEST

 6   REQUEST FOR PRODUCTION NO. 204:

 7          Please produce all DISCOVERY MATERIALS in the case captioned Callsome Solutions Inc.
 8   v. Google, Inc., Index No. 652386/2014 (N.Y. Sup.).
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                    -2-
     PLAINTIFFS’ SUPPLEMENTAL REQUEST                                            Case No.: 3:21-md-02981-JD
     FOR PRODUCTION OF DOCUMENTS TO GOOGLE
      Case 3:21-md-02981-JD          Document 27-1     Filed 05/04/21     Page 6 of 8




 1      Dated: March 1, 2021

 2                                                     Respectfully submitted,
 3                                                     By /s/ Yonatan Even_____________________
 4
                                                          FAEGRE DRINKER BIDDLE & REATH
 5                                                        LLP
 6                                                        Paul J. Riehle (SBN 115199)
                                                          paul.riehle@faegredrinker.com
 7
                                                          Four Embarcadero Center
 8                                                        San Francisco, California 94111 Telephone:
                                                          (415) 591-7500
 9                                                        Facsimile: (415) 591-7510
10                                                        CRAVATH, SWAINE & MOORE LLP
11                                                        Christine A. Varney (pro hac vice)
                                                          cvarney@cravath.com
12                                                        Katherine B. Forrest (pro hac vice)
                                                          kforrest@cravath.com
13                                                        Gary A. Bornstein (pro hac vice)
                                                          gbornstein@cravath.com
14                                                        Yonatan Even (pro hac vice)
                                                          yeven@cravath.com
15                                                        Lauren A. Moskowitz (pro hac vice)
                                                          lmoskowitz@cravath.com
16                                                        Justin C. Clarke (pro hac vice)
                                                          jcclarke@cravath.com
17                                                        M. Brent Byars (pro hac vice)
                                                          mbyars@cravath.com
18                                                        825 Eighth Avenue
                                                          New York, New York 10019
19                                                        Telephone: (212) 474-1000
                                                          Facsimile: (212) 474-3700
20
                                                          Attorneys for Plaintiff
21                                                        EPIC GAMES, INC.
22

23

24

25

26

27

28
                                                 -3-
     PLAINTIFFS’ SUPPLEMENTAL REQUEST                                            Case No.: 3:21-md-02981-JD
     FOR PRODUCTION OF DOCUMENTS TO GOOGLE
      Case 3:21-md-02981-JD            Document 27-1          Filed 05/04/21     Page 7 of 8




 1                                      CERTIFICATE OF SERVICE

 2          I hereby certify that on March 1, 2021, I served true and correct copies of Plaintiffs’ Second

 3   Set of Requests for Production of Documents via electronic mail, pursuant to an agreement among

 4   the parties for electronic service, to the following counsel of record in this action and the related

 5   actions:

 6    Brian C. Rocca                                    Steve W. Berman
      Sujal J. Shah                                     Robert F. Lopez
 7    Minna L. Naranjo                                  Benjamin J. Siegel
      Rishi P. Satia                                    HAGENS BERMAN SOBOL SHAPIRO
 8
      Michelle P. Chui                                  LLP
 9    MORGAN, LEWIS & BOCKIUS LLP                       steve@hbsslaw.com
      brian.rocca@morganlewis.com                       robl@hbsslaw.com
10    sujal.shah@morganlewis.com                        bens@hbsslaw.com
      minna.naranjo@morganlewis.com
11    rishi.satia@morganlewis.com                       Joseph M. Vanek
      michelle.chiu@morganlewis.com                     Eamon P. Kelly
12
                                                        Alberto Rodriguez
13    Counsel for Defendants Google LLC et al.          SPERLING & SLATER PC
                                                        jvanek@sperling-law.com
14    Karma M. Giulianelli                              ekelly@sperling-law.com
      BARTLIT BECK LLP                                  arodriguez@sperling-law.com
15    karma.giulianelli@bartlitbeck.com
                                                        Co-Lead Interim Class Counsel for the
16
      Hae Sung Nam                                      Developer Class and Attorneys for Plaintiff
17    KAPLAN FOX & KILSHEIMER, LLP                      Pure Sweat Basketball
      hnam@kaplanfox.com
18                                                      Bonny E. Sweeney
      Co-Lead Counsel for the Proposed Class in         Melinda R. Coolidge
19    In re Google Play Consumer Antitrust              Katie R. Beran
      Litigation                                        Scott A. Martin
20
                                                        Irving Scher
21    Elizabeth C. Pritzker                             HAUSFELD LLP
      PRITZKER LEVINE LLP                               bsweeney@hausfeld.com
22    ecp@pritzkerlevine.com                            mcoolidge@hausfeld.com
                                                        kberan@hausfeld.com
23    Liaison Counsel for the Proposed Class in         smartin@hausfeld.com
      In re Google Play Consumer Antitrust              ischer@hausfeld.com
24
      Litigation
25                                                      Co-Lead Interim Class Counsel for the
                                                        Developer Class and Attorneys for Plaintiff
26                                                      Peekya App Services, Inc.
27

28
                                                        -4-
     PLAINTIFFS’ SUPPLEMENTAL REQUEST                                                  Case No.: 3:21-md-02981-JD
     FOR PRODUCTION OF DOCUMENTS TO GOOGLE
      Case 3:21-md-02981-JD          Document 27-1          Filed 05/04/21      Page 8 of 8




 1          I certify under penalty of perjury that the foregoing is true and correct. Executed on March 1,

 2   2021, at Mineola, New York.

 3

 4                                                          /s/ Andrew Wiktor
                                                            Andrew Wiktor
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      -5-
     PLAINTIFFS’ SUPPLEMENTAL REQUEST                                                Case No.: 3:21-md-02981-JD
     FOR PRODUCTION OF DOCUMENTS TO GOOGLE
